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 1                             UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 JOSE DECASTRO,                                          Case No.: 2:23-cv-00580-APG-EJY

 4          Plaintiff                                  Order Granting Motion for Leave to File
                                                                Supplemental Briefs
 5 v.
                                                                      [ECF No. 92]
 6 LAS VEGAS METROPOLITAN POLICE
    DEPARTMENT, et al.,
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            Defendants
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           I ORDER that plaintiff Jose DeCastro’s motion for leave to file supplemental briefs
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   (ECF No. 92) is GRANTED. By August 23, 2024, the parties may file cross briefs regarding
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   the impact on this case of plaintiff Jose DeCastro’s conviction being overturned and the Nevada
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   Court of Appeals’ ruling in Willson v. First Jud. Dist. Ct. in & for Cnty. of Carson City, 547 P.3d
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   122 (Nev. Ct. App. 2024). The parties may file cross responses by August 30, 2024. No further
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   briefs are allowed absent further order of the court.
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           DATED this 13th day of August, 2024.
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                                                        ANDREW P. GORDON
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                                                        UNITED STATES DISTRICT JUDGE
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